Case 21-05127-lrc   Doc 4    Filed 01/14/22 Entered 01/14/22 15:42:29      Desc Main
                              Document     Page 1 of 2

                                                          U.$, BANKRUPT'CY COM
                                                            NORTHERN DISTRICT
                                                                 OF GENGIA
               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF GEORGItli                        3:23
                             Atlanta Division                           THOMAS
                                                                    LLRr

In Re:                                                                            .
                                                              '..zrPlITY iT ERx
  CYNTHIA ANDERSON-GRAYSON                     CASE NO. 20-62169-LRC
                  Debtor                              CHAPTER 7



           S. GREGORY HAYS,
    Chapter 7 Trustee for the Estate of             ADV. PRO. NO. 4N-DSici2
         Cynthia Anderson-Grayson,
                 Plaintiff
                    V.
         MICHAEL L. GRAYSON,
                Defendant


           DEFENDANT'S MOTION FOR EXTENSION OF TIME TO
                RESPOND TO ADVERSARY COMPLAINT


      COMES NOW, named Defendant, Michael L. Grayson, who respectfully files

Defendant's Motion for Extension of Time To Respond to Adversary Complaint

and shows this Honorable Court as follows:

      Due to the nature of the allegations made against Defendant, Defendant has

been seeking legal counsel. Defendant's Mother, Cynthia Anderson-Grayson, is

very ill from chemotherapy, and suffers from stage 4 cancer, and the fact that
Case 21-05127-lrc     Doc 4   Filed 01/14/22 Entered 01/14/22 15:42:29        Desc Main
                               Document     Page 2 of 2



Defendant is being accused of fraud, he does not feel he can adequately represent

himself

      Defendant interviewed a couple Of attorneys, but so far, he has not found one

with time to get up to speed, or were incompetent for such representation. Defendant

would like the time to attempt to locate and retain competent legal counsel. Thirty

to Forty-five days would be very helpful in the search for competent legal counsel.

      Respectfully submitted, this 14th day of January. 2022,




                                                     Michael Ly
                                                     2435 HaN9erford
                                                     Decatur, GA 30032

                           CERTIFICATE OF SERVICE


      I hereby certify, that I have this day, served a true and correct copy of the

Foregoing upon the Plaintiff, through their attorney on file, via postage prepaid,

USPS First Class Mail and addressed as follows.

Michael J. Bargar
17117t11 Street, NW
Suite 2100
Atlanta, GA 30363
